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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,


          v.                                              05-cr-0073

PETER DEMOTT
CLARE GRADY
DANIEL BURNS
TERESA GRADY

                                      Defendants.

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THOMAS J. McAVOY
Senior United States District Judge

                                      DECISION and ORDER

          A dispute has arisen concerning the interpretation of 18 U.S.C. § 372. “In interpreting a

statute, we begin with the language of the statute itself.” Connecticut ex rel. Blumenthal v. U.S. Dept.

of Interior, 228 F.3d 82, 88 (2d Cir. 2000) (quoting Tom Lange Co. v. Kornblum & Co., 81 F.3d 280,

285 (2d Cir.1996)). Section 372 reads as follows:

          § 372. Conspiracy to impede or injure officer

          If two or more persons in any State, Territory, Possession, or District conspire to
          prevent, by force, intimidation, or threat, any person from accepting or holding
          any office, trust, or place of confidence under the United States, or from
          discharging any duties thereof, or to induce by like means any officer of the
          United States to leave the place, where his duties as an officer are required to be
          performed, or to injure him in his person or property on account of his lawful
          discharge of the duties of his office, or while engaged in the lawful discharge
          thereof, or to injure his property so as to molest, interrupt, hinder, or impede him
          in the discharge of his official duties, each of such persons shall be fined under
          this title or imprisoned not more than six years, or both.
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           The parties appear to be in agreement that the statute addresses conspiracies that have

different objects or goals. Specifically, the statute prohibits conspiracies to: (1) prevent any person

from accepting or holding any office, trust, or place of confidence under the United States, or from

discharging any duties thereof; (2) induce any officer of the United States to leave the place, where his

duties as an officer are required to be performed; (3) injure an officer of the United States in his person

or property on account of his lawful discharge of the duties of his officer, or while engaged in the

lawful discharge thereof; or (4) injure the property of an officer of the United States so as to molest,

interrupt, hinder, or impede him in the discharge of his official duties (collectively referred to as the

“objects of the conspiracy”). The dispute is over whether the government must prove “force,

intimidation, or threat” with respect to each of the four possible objects of the conspiracy, or whether

the “force, intimidation, or threat” element only applies to the first two objects of the conspiracy listed

above. Defendants have taken the position that a necessary component of any conspiracy under this

section involves proof of “force, intimidation, or threat.” The government, on the other hand, contends

that the “force, intimidation, or threat” element only applies to the first two types of conspiracy.

           Without question, the statute could have been drafted more clearly and with more precision.

Nevertheless, the Court believes that, upon careful analysis, its proper meaning can be easily discerned.

A careful analysis involves a breakdown of the structure of section 372.

           There are two sets of “people” addressed in section 372 : (1) the conspirators (“[i]f two or

more persons . . . conspire. . . .”); and (2) the persons who are the subject of the conspiracy (either “any

person . . . accepting or holding any office, trust, or place of confidence under the United States”, or

“any officer of the United States.”). The verbs used in section 372, therefore, must relate to one of the

two sets of people addressed therein. Section 372 uses the following verbs (or verb sets) to refer to the


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conspirators, or actions of the conspirators: (1) “to prevent” (“to prevent, by force, intimidation, or

threat, any person from accepting or holding any office, trust, or place of confidence under the United

States”); (2) “to induce” (“to induce by like means any officer of the United States to leave the place,

where his duties as an officer are required to be performed”); (3) “to injure” (“to injure him in his

person or property on account of his lawful discharge of the duties of his office, or while engaged in

the lawful discharge thereof); and (4) “to injure . . . so as to molest, interrupt, hinder, or impede” (“to

injure his property so as to molest, interrupt, hinder, or impede him in the discharge of his official

duties”). It is each one of these verbs (each of which appears after a comma, followed by the word

“or”) relating to the actions of the conspirators that separates out each of the four potential objects of

the conspiracy. The remaining verbs (or gerunds) in section 372 relate to the persons who are the

subject of the conspiracy (“from accepting or holding any office”, “from discharging any duties”; “to

leave the place where his duties as an officer are required to be performed”, “his lawful discharge of

the duties,” “while engaged in the lawful discharge thereof”, “discharge of his official duties.”).

           We have now identified that the statute has four objects of the conspiracy, of which, each

object has its own introductory verb (“prevent,” “induce,” “injure,” and “injure”). We must then look

to the placement of the phrase “by force, intimidation, or threat.” Notably, that phrase (“by force,

intimidation, or threat”) appears after the verb “to prevent,” which verb relates to the first potential

object of the conspiracy. This suggests that the phrase “by force, intimidation, or threat” applies only

to (or modifies) this first object of the conspiracy. Had the “by force, intimidation, or threat” phrase

appeared before the verbs relating to the conspirators, there would be a stronger argument for

Defendants’ position. By putting this qualifying phrase after the verb “to prevent”, it is understood to

qualify the preceding verb (“to prevent”) and not any ensuing verbs, which express different concepts.


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           This conclusion is reinforced by the fact that the verb introducing the second object of the

conspiracy (“to induce”) also has its own qualifying language. The language of the second object of

the conspiracy is as follows: “or to induce by like means any officer of the United States to leave the

place, where his duties as an officer are required to be performed.” If the phrase “by force,

intimidation, or threat” found in the first object of the conspiracy was meant to apply to the second

object of the conspiracy, it would have been unnecessary for Congress to qualify the manner of

“inducement” in the second object of the conspiracy by using the phrase “by like means.” To do so

would have been redundant, a form of interpretation that should be avoided. Committee to Stop

Airport Expansion v. F.A.A., 320 F.3d 285, 288 (2d Cir. 2003); see also Connecticut Nat’l Bank v.

Germain, 503 U.S. 249, 253 (1992) (courts are to disfavor interpretations of statutes that render

language superfluous). Rather, it appears clear that Congress wanted to clarify that what was

prohibited in the second object of the conspiracy was to induce by like means (i.e., by force,

intimidation or threat) any officer of the United States to leave the place, where his duties as an officer

are required to be performed. Thus, Congress explicitly made the qualifying phrase “by force,

intimidation, or threat” applicable to the first two objects of the conspiracy.

           Significantly, any such qualifying language is absent from the third and fourth objects of the

conspiracy. It is clear that if Congress wanted such qualifying language to apply to these latter objects

of the conspiracy, it knew how to do so. As it did with respect to the second objects of the conspiracy,

Congress could have written “or to injure him [by like means] in his person or property on account of

his lawful discharge of the duties of his office, or while engaged in the lawful discharge thereof, or to

injure his property [by like means] so as to molest, interrupt, hinder, or impede him in the discharge of

his official duties, each of such persons shall be fined under this title or imprisoned not more than six


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years, or both.” But this is not what Congress did. This Court must give effect to the plain language of

the statute. By leaving out any qualifying language from the third and fourth objects of the conspiracy,

Congress clearly omitted the necessity of proving “force, intimidation, or threat” therefrom.

           One of the defendants argued that by using the pronouns “his” or “him” in the third and

fourth objects of the conspiracy, those latter objects of the conspiracy necessarily relate back to the

second object of the conspiracy, wherein the “force, intimidation, or threat” element is found. She

contends that it, therefore, follows that the “force, intimidation, or threat” element must apply to all

objects of the conspiracy. The Court disagrees. Legislative enactments rarely are models of

grammatical precision. Nevertheless, the Court believes that defendant’s argument does not alter the

conclusion reached above. Without doubt, the persons involved in the second, third, and fourth objects

of the conspiracy are the same. The second, third, and fourth objects of the conspiracy pertain to the

conspirators (“two or more persons”) and an “officer of the United States.” Nevertheless, as discussed,

each object of the conspiracy is otherwise distinct insofar as they involve different conduct.

           In addition, requiring proof of “force, intimidation, or threat” would be illogical, in part,

when applied to the fourth object of the conspiracy. It is not possible to injure property by intimidation

or threat. The Court must avoid any construction of the statute that renders it illogical. For these latter

objects of the conspiracy, Congress believed that a conspiracy to cause injury was sufficient to

constitute a crime and that proof of force, intimidation, or threat is not necessary.

           This Court is not alone in this interpretation. For instance, the Fourth Circuit, in U.S. v.

Hall, quoted the "pertinent" provision of the statute in that case as follows:

           “If two or more persons in any State, Territory, Possession, or District conspire to
           * * * injure him (an officer of the United States) in his person or property on
           account of his lawful discharge of the duties of his office, or while engaged in the
           lawful discharge thereof, or to injure his property so as to molest, interrupt,

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           hinder, or impede him in the discharge of his official duties, each of such persons
           shall be fined not more than $5,000 or imprisoned not more than six years, or
           both.”

342 F.2d 849, 850 n.1 (4th Cir. 1965). The Fourth Circuit used the ellipsis to remove the portion of the

statute that speaks of force, intimidation, or threat to the subsequent portions of the statute, thereby

suggesting that the “force, intimidation, or threat” element is inapplicable to the subsequent portions of

the statute.

           Similarly, in U.S. v. Joiner, the Eighth Circuit cited the relevant portion of the statute in that

case, albeit in a parenthetical, as "criminalizing conduct where two or more persons conspire to injure

an officer of United States in his person or property on account of the lawful discharge of their duties."

418 F.3d 863, 867 (8th Cir. 2005). Again, the Court did not cite the requirement that this injury be

brought about by force, intimidation, or threat.

           In Stern v. United States Gypsum, Inc., 547 F.2d 1329 (7th Cir.), cert. denied, 434 U.S. 975,

98 S. Ct. 533 (1977), the Seventh Circuit examined the identically worded civil conspiracy statute, 42

U.S.C. § 1985(1). The Stern court stated:

           [A]ppellants ... insist that the use of conspiratorial means of "force, intimidation,
           or threat" [in 42 U.S.C. Sec. 1985(1)] is a necessary element of any action under
           that section and that Stern has not adequately alleged that element. Stern argues,
           and the district court determined, both that his complaint is drawn under portions
           of § 1985(1) which do not include such a requirement, and that even if the
           requirement were to be imposed, his complaint sufficiently satisfies it to
           withstand a motion to dismiss. His complaint alleges, inter alia, a conspiracy to
           injure him in his person, property, and professional reputation on account of the
           lawful discharge of his official duties "by intimidation, threat or otherwise."

           We begin our analysis of this issue by considering the statutory language. As we
           read § 1985(1), it opens by stating the requirement that "two or more persons . . .
           conspire" and then proceeds, in four infinitive phrases, appropriately qualified
           and set off from each other with the disjunctive "or," to state the types of
           conspiracies covered. The section may thus be broken into component parts, as
           follows:

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   If two or more persons in any State or Territory conspire

   (1) to prevent, by force, intimidation, or threat, any person from accepting or
   holding any office, trust, or place of confidence under the United States, or from
   discharging any duties thereof;

   (2) or to induce by like means any officer of the United States to leave any State,
   district, or place, where his duties as an officer are required to be performed,

   (3) or to injure him in his person or property on account of his lawful discharge of
   the duties of his office, or while engaged in the lawful discharge thereof,

   (4) or to injure his property so as to molest, interrupt, hinder, or impede him in
   the discharge of his official duties(.)

   Reading § 1985(1) in this natural manner, the limitations of the "force,
   intimidation, or threat" requirement are apparent. While the requirement is
   express in the first substantive phrase, and incorporated by the words "by like
   means" in the second, it does not modify the last two substantive phrases, under
   which, of course, Stern's complaint is primarily drawn.

   We agree with the parties that § 1985(1) is not a model of clear and precise
   draftsmanship, but we think that the reading we give the section effectuates a
   relatively plain Congressional intention. It gives the normal grammatical
   significance to the use of the disjunctive "or" by allowing each of the phrases thus
   set off to have independent effect. See Flora v. United States, 362 U.S. 145,
   149-50, 80 S. Ct. 630 (1960). Nor does this interpretation disrupt an apparently
   integrated whole. The statute makes perfectly good sense without imposing a
   "force, intimidation, or threat" requirement on each of its parts. Congress could
   soundly have determined that the federal interest in the carrying out of federal
   functions would not be offended when, e. g., two or more persons act together to
   prevent another from accepting or holding a federal position by offering that
   person a better job. When, on the other hand, force, intimidation, or threat are
   used to achieve that end, the federal interest would be offended even if no legally
   cognizable injury is done to the prospective or incumbent federal official. A
   conspiracy to injure an official's person or property on account of the discharge of
   his duties or to prevent him from doing so, however, interferes directly and
   substantially with the federal interest in the effective formulation and execution of
   federal policy and functions, regardless of whether force, intimidation, or threat
   are used.




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547 F.2d at 1336-37.

           As this Court’s analysis makes clear, it fully agrees with the interpretation of the Seventh

Circuit. Accordingly, the Court finds that the “force, intimidation, or threat” element is inapplicable to

the third and fourth objects of the conspiracy.

IT IS SO ORDERED.

Dated:    September 22, 2 005




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